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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

 KARI WHEELER, et al.,

        Plaintiff,

        v.                                              Case No. 23-2401-EFM-ADM

 STERLING, KANSAS, FREE PUBLIC
 LIBRARY, BOARD OF DIRECTORS, et al.,

        Defendants.



       INITIAL ORDER REGARDING PLANNING AND SCHEDULING

       Fed. R. Civ. P. 1 mandates the “just, speedy, and inexpensive” determination of this

action. With this goal in mind, U.S. Magistrate Judge Mitchell will conduct a Fed. R. Civ.

P. 16 scheduling conference on November 29, 2023, at 10:00 a.m. The conference will

be held via telephone. Participants shall dial in to the conference call at 888-363-4749, then

enter access code 3977627#, and follow the prompts to join the call as a participant. If the

parties would rather appear live or by videoconference, they may make that request when

they email their proposed scheduling order to the court (as instructed below).

       The parties, in person and/or through counsel, must confer as required by Fed. R.

Civ. P. 26(f) by November 8, 2023. Generally, discussion at the planning conference must

address the nature and basis of the parties’ claims and defenses; the possibilities of settling

or resolving the case, including using mediation or other methods of alternative dispute

resolution; making or at least arranging for Fed. R. Civ. P. 26(a)(1) disclosures; any issues

about preserving discoverable information; developing a discovery plan; discovery of
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electronically stored information (ESI); and a proposed scheduling order.                 More

specifically, the parties must discuss the agenda items set out in Fed. R. Civ. P. 16(c)(2)(A)-

(P) and Fed. R. Civ. P. 26(f)(3)(A)-(F), and prepare a proposed scheduling order using the

form available at the following:

                http://ksd.uscourts.gov/index.php/forms/?open=CivilForms

       Careful planning is essential to efficient case management and discovery. The court

strongly encourages the parties to conduct their Rule 26(f) planning conference in person

instead of by telephone, to improve the quality of discussion. It is unacceptable to simply

exchange draft proposed scheduling orders by email without further discussion. The court

also strongly encourages “first chair” trial counsel to be meaningfully involved in this

critical planning process. Before the planning conference, the parties shall review and be

prepared to address the agenda items set out in Rules 16(c)(2)(A)-(P) and 26(f)(3)(A)-(F).

The parties should think creatively and cooperatively, to the extent possible, about how to

structure this case in a way that will lead to the efficient resolution of the factual and legal

issues presented.

       The parties must work together to draft a proposed scheduling order, which will

constitute the written report required by Fed. R. Civ. P. 26(f)(2). The parties must note any

points of disagreement in the proposed scheduling order and include a brief explanation of

their respective positions. By November 17, 2023, plaintiff(s) must submit the following:

       (1)    a redlined version of the proposed scheduling order that shows all changes

to the court’s form proposed scheduling order, and

       (2)    a clean version of the proposed scheduling order.
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       Both versions of the document must be submitted in Word format as an attachment

to an email sent to ksd_mitchell_chambers@ksd.uscourts.gov. The proposed scheduling

order must not be filed with the clerk’s office. The email transmitting the proposed

scheduling order must also include the following information:

       For each attorney: (1) name; (2) business address; (3) home, business, and cellular
       telephone numbers; and (4) email address.

       For each party: (1) name; (2) home and business addresses; (3) home and business
       telephone numbers; and (4) email address.

       The parties must serve their Rule 26(a)(1)(A) initial disclosures by November 17,

2023, and email copies of the initial disclosures to the undersigned judge’s chambers with

the proposed scheduling order. The magistrate judge may discuss these disclosures during

the scheduling conference in finalizing a discovery and case plan that achieves Rule 1’s

objectives. The parties should not submit to the court any documents identified or

described in their Rule 26(a)(1)(A) initial disclosures.

       If you have questions concerning this order’s requirements, please contact the

undersigned judge’s courtroom deputy, Heather Tildes, at 913-735-2280, or by email at to

ksd_mitchell_chambers@ksd.uscourts.gov.

       IT IS SO ORDERED.

       Dated October 17, 2023, at Kansas City, Kansas.



                                                                s/Angel D. Mitchell
                                                                U.S. Magistrate Judge
